
McADAM, J.
The defendant, in its moving papers, asserts that the difference between what is called a “public adjuster” and an “insurance adjuster” is that tiie former acts for the public, the latter for the companies, and that this circumstance escaped the attention of the court. The distinction was clearly presented at the argument, and was not overlooked in making the decision. It was not more specially marked, because too apparent to require particular reference. On the principle urged by the defendant, a lawyer who acts only for insurance companies should be termed by the court an “attorney,” but error might be imputed if it failed to designate an attorney not so specially engaged as a “public attorney.” Such technical nomenclature is hardly subtle enough to require amplification, or call for special comment by way of emphasis to convince litigants Unit it is understood by judical mind. The defendant has not brought itself within the rules entitling it to a reargument (Hand v. Rogers, 16 Misc. Rep. 364; 38 N. Y. Supp. 2), or for leave to appeal to the appellate divison (Lynch v. Sauer, 16 Misc. Rep. 362; 38 N.Y. Supp. 1), and the motion must be denied, with §10 costs.
